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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR14-042-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   STEPHANIE M. BAUBLITS,               )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Bank Fraud; Conspiracy; Aggravated Identity Theft

15 Date of Detention Hearing:     June 5, 2014.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant was arrested in the Western District of Arkansas on the instant



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01 charges, ordered detained, and transferred to this District. She does not contest detention.

02         2.      There is currently an active felony warrant outstanding in Maricopa County,

03 Arizona, for similar charges.     A felony warrant is also outstanding in Clallum County,

04 Washington alleging failure to appear. A non-extraditable warrant has also been identified

05 originating in Los Angeles County.

06         3.      Defendant poses a risk of financial danger based on the instant charges and

07 similar previous charged. She poses a risk of nonappearance based on felony warrants and

08 insufficient information relating to residence, family and employment history.

09         4.      There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the

11 danger to other persons or the community.

12 It is therefore ORDERED:

13      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

14         General for confinement in a correction facility separate, to the extent practicable, from

15         persons awaiting or serving sentences or being held in custody pending appeal;

16      2. Defendant shall be afforded reasonable opportunity for private consultation with

17         counsel;

18      3. On order of the United States or on request of an attorney for the Government, the

19         person in charge of the corrections facility in which defendant is confined shall deliver

20         the defendant to a United States Marshal for the purpose of an appearance in connection

21         with a court proceeding; and

22      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel



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01       for the defendant, to the United States Marshal, and to the United State Pretrial Services

02       Officer.

03       DATED this 5th day of June, 2014.

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05                                                     A
                                                       Mary Alice Theiler
06                                                     Chief United States Magistrate Judge

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